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     Adron W. Beene SB# 129040
 1
     Adron G. Beene SB# 298088
 2   Attorney at Law
     7960 Soquel Drive Ste B #296
 3   Aptos CA 95003
     Tel: (408) 392-9233
 4   adron@adronlaw.com
 5
     Attorneys for defendants:
 6   PURETHINK LLC, a Delaware limited
     liability company, IGOV INC., a Virginia
 7   corporation, and JOHN MARK SUHY
 8

 9                     UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA
10
     NEO4J, INC., a Delaware corporation,       CASE NO. 5:18-CV-7182 EJD
11   and NEO4J SWEDEN AB, a Swedish
12   corporation,
     Plaintiffs,                                DEFENDANTS’ COUNTER
13   v.                                         DEPOSITION DESIGNATIONS
                                                FOR USE AT TRIAL
14
     PURETHINK LLC, a Delaware
15   limited liability company, IGOV INC.,
     a Virginia corporation, and JOHN           Trial Date November 14, 2023
16   MARK SUHY, an individual,
     Defendants.
17

18   AND RELATED COUNTERCLAIMS
19

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       DEFENDANTS’ Counter Deposition Designations
       CASE NO. 5:18-cv-7182 EJD
                                                                               1
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 1   Pursuant to the Court’s April 6, 2023 Order for Modification of Case
 2   Schedule After Trial Setting Conference, defendants hereby file the
 3   following counter deposition transcript excerpts and testimony
 4   (highlighted in yellow) they intend to introduce at trial:
 5

 6   Exhibit No. 1, Remote Videotaped Deposition of Internal Revenue
 7   Service Through its Designee Michael C. Dunn Pursuant to Federal
 8   Rules of Civil Procedure 45 and 30(b)(6), pg. 100:11-101:4, which was
 9   provided by Plaintiffs in Dkt. 210, pg. 445-445.
10

11   Exhibit No. 2, Remote Videotaped Deposition of Brad Nussbaum, taken
12   by Neo4j, Inc. in Neo4j, Inc. et al. v Graph Foundation, Inc., et al.,
13   Northern District of California Case No. 5:19-CV-06226-EJD, pg.
14   40-44, and 78, which was provided by Defendants in this action in Dkt.
15   188-2, pg. 14-19 .
16     Dated: November 3, 2023
17
                                 __/s/ Adron W. Beene________________
18                               Adron W. Beene SB# 129040
                                 Adron G. Beene SB# 298088
19                               Attorneys At Law
20                               7960 Soquel Drive, Suite B #296
                                 Aptos, CA 95003
21                               Tel: (408) 392-9233
                                 adron@adronlaw.com
22

23                               Attorneys for Defendants
                                 PURETHINK LLC, a Delaware limited
24                               liability company, IGOV INC., a Virginia
                                 corporation, and JOHN MARK SUHY
25

       DEFENDANTS’ Counter Deposition Designations
       CASE NO. 5:18-cv-7182 EJD
                                                                              2
           Case 5:18-cv-07182-EJD Document 222 Filed 11/03/23 Page 3 of 15




 1

 2                      ATTESTATION OF E-FILED SIGNATURE

 3   Pursuant to Local Rule 5-1(i)(3), I hereby certify that I have obtained the
 4   concurrence in the filing of this document from all signatories for whom a
 5   signature is indicated by a “conformed” signature (/s/) within this
 6   electronically filed document and I have on file records to support this
 7   concurrence for subsequent production to the Court if so ordered or for
 8   inspection upon request.
                                                  /s/ Adron G. Beene
 9   Dated: November 3, 2023                 Adron W. Beene
                                             Adron G. Beene
10                                           Attorneys At Law
                                             7960 Soquel Drive, Suite B #296
11                                           Aptos, CA 95003
                                             Tel: (408) 392-9233
12
                                             Attorneys for Defendants and
13                                           Counter-Claimants
                                             PURETHINK LLC, IGOV INC.,
14                                           and JOHN MARK SUHY
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        DEFENDANTS’ Counter Deposition Designations
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                     UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF CALIFORNIA


    NEO4J, INC., a Delaware       )               CASE NO.
    corporation; and NEO4J SWEDEN )               5:18-cv-07182-EJD
    AB, a Swedish corporation,    )
                                  )
             Plaintiffs,          )
                                  )
    vs.                           )
                                  )
    PURETHINK, LLC, a Delaware    )
    limited liability company;    )
    IGOV, INC., a Virginia        )
    corporation; and JOHN MARK    )
    SUHY, an individual,          )
                                  )
             Defendants.          )
                                  )

           ***EXHIBITS ONLY DESIGNATED CONFIDENTIAL***

        REMOTE VIDEOTAPED DEPOSITION OF INTERNAL REVENUE

         SERVICE THROUGH ITS DESIGNEE MICHAEL C. DUNN

                               PAGES 1 - 293


    ____________________________________________________

                                   8:10 A.M.

                 Thursday, November 17, 2022
    ____________________________________________________


       REPORTED BY:            Shelley M. Sailor, CSR No. 10254


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 1          A.   Okay.
 2          Q.   Does that help refresh your recollection as
 3   to what the IRS was using in the CKGE as far as
 4   Neo4j software goes as of June of 2018?
 5          A.   Sure.     If that is that was it, yeah.             Then
 6   that's it.
 7          Q.   So as of June 2018, CKGE was using 3.2
 8   Enterprise Edition of Neo4j?
 9          A.   Yeah.     It would have had that.           Yeah.     Yep.
10   That will work.
11          Q.   Then why were you asking Mr. Suhy about
12   switching from 32 Enterprise to 3.3.1 Community
13   Edition?
14          A.   Kind of -- I would think back to sort of
15   what I was talking which was given the amount of
16   users, the demand requirements, just it wasn't
17   necessary to have any of the Enterprise features.
18   And so, you know, I think we may have been, you
19   know, just wondering just to use the Community
20   Edition instead of whatever was happening with the
21   Enterprise Edition or moving forward.
22               So that's my general view is the
23   requirements of Neo4j from our standpoint I don't
24   believe required any of those Enterprise features
25   about the clustering or any of that.                So I would

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 1   have been asking him sort of, well, what would it
 2   take to just switch out from one -- you know, to the
 3   Community Edition.         Like technically level of
 4   effort, what would it have been.
 5          Q.   And then you'll see Mr. Suhy responds.                 I
 6   think he quotes the Commons Clause again, which we
 7   saw in the prior exhibit.
 8          A.   Okay.
 9          Q.   By the way, I don't think I actually marked
10   this exhibit.       I believe this would be Exhibit 166.
11               (Exhibit 166 is introduced.)
12   BY MR. RATINOFF:
13          Q.   Turning back to Exhibit 166, you'll see
14   there's an email response to your questions for
15   Mr. Suhy.      And if you go to the bottom of, it's
16   231.001, so it's really the first page.
17          A.   Okay.     I think I see it.         Yes.
18          Q.   And Mr. Suhy says, "I don't think you
19   should consider moving to Community."
20          A.   Yeah.
21          Q.   And if you see it, he references, "You will
22   be much safer adopting the open fork we manage than
23   moving to Neo4j's Community Edition."
24               What did you understand that to mean?
25          A.   That there was this open fork version that

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                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA



    NEO4J, INC., a Delaware                ) CASE NO.
    corporation, and NEO4J                 ) 5:19-CV-06226-EJD
    SWEDEN AB, a Swedish                   )
    corporation,                           )
                                           )
                    Plaintiffs,            )
                                           )
          vs.                              )
                                           )
    GRAPH FOUNDATION, INC., an             )
    Ohio corporation,                      )
    GRAPHGRID, INC., an Ohio               )
    corporation, and ATOMRAIN              )
    INC., a Nevada corporation,            )
                                           )
                    Defendants.            )

                                REMOTE VIA ZOOM

                    30(b)(6) DEPOSITION OF NEO4J INC

                               BY BRAD NUSSBAUM



    __________________________________________________________
                           9:17 A.M. PDT
                     FRIDAY, OCTOBER 16, 2020
     _________________________________________________________




    By:    Denise Myers Byrd, CSR 8340, RPR


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1    where I'm looking?
2          A.    Yes.
3          Q.    And it lists three individuals.           Do you want to
4    read those to me.
5          A.    The document says the three names are Bradley
6    Nussbaum, Benjamin Nussbaum, John Mark Suhy.
7          Q.    And was John Mark Suhy on the board at that
8    time?
9          A.    No, he was not.
10         Q.    Why is he listed as being on the board as
11   printed out?
12         A.    John Mark was someone that we considered having
13   on the board, I think, along with a few other
14   individuals from the community.
15               Ben and I were the only board members that were
16   ever officially set in.         We had spent a good amount of
17   time trying to figure out how the foundation was going
18   to be governed.       Having never run a nonprofit, we
19   weren't quite sure how we wanted to do that.               I think
20   when the site got created, I think we -- I think we
21   largely looked at the Apache Foundation as a model for
22   how the site was set up.         And when we -- when it got
23   published, it must have went out with John Mark's name
24   maybe because we were considering it at the time, but
25   there were ultimately reasons why we didn't include him


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 1   way that he conducts publicly that we were just kind of
 2   concerned about.
 3              Because our goal with the foundation, you know,
 4   was to provide a mission, you know, that aligns with what
 5   we've said, and I don't think that -- I don't think that
 6   John Mark always -- it's not like there's big
 7   disagreements.      It's, like, one of those things that's,
 8   like -- it's, like, the gray area.           It's not, like, full
 9   alignment, but it's not like we disagreed on stuff.                It's
10   just -- it's just when there's administration decisions
11   involved and governance and people in the public sector
12   or public spotlight saying things, we just felt like we
13   needed to have -- yeah, Ben and I would be the ones that
14   that was coming from.
15         Q.   You mentioned there were concerns about how
16   John Mark communicated publicly.           What were those
17   concerns?
18         A.   I think John Mark says a lot of things.             Some
19   of the emails that we don't respond to are probably an
20   example of that.       He definitely says a lot of things.
21   Maybe sometimes it's because of the medication he's on.
22   Some days are good and some days are -- there's a lot,
23   so it's always hard to know with him kind of what -- if
24   he's having a good day or a bad day and what's going out
25   there.     And it's not, like, to say that he's not a good


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1          Q.    We can come back to that and you can check on a
2    break or something.
3                Who hosts the website for Graph Foundation?
4          A.    It's hosted by -- I think AWS CloudFront hosts
5    it.
6          Q.    And who's responsible for putting the content
7    on the website?
8          A.    I am.    I have access and Ben has access.
9          Q.    So you made the changes to remove John Mark
10   from the website?
11         A.    I think Ben did.       I think Ben might have -- I
12   think Ben set up some of these initial pages.
13         Q.    Do you guys keep archives of your website?
14         A.    I mean, it's a -- yes, I think so, yeah.
15         Q.    How often do you archive your website?
16         A.    Oh -- oh, you mean like a full backup?
17         Q.    Yes.
18         A.    Well, I mean, it's a WordPress site so I think
19   the database that's hosted it is backed up.               I don't
20   know what frequency, but any pages have versions and are
21   published and stuff so yeah.
22         Q.    So do you have access to prior published
23   versions of the website?
24         A.    I would assume so.       I mean, probably not the
25   full website.       I mean, like, I think through WordPress


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1    Neo4j Enterprise code base.
2          Q.    And when did Graph Foundation first create
3    ONgDB?
4          A.    I don't know the exact date.          I would assume
5    that it was somewhere or sometime in early November of
6    2018 or around then.        Maybe it was after.        I'm not sure
7    of the exact date.
8          Q.    Could it have been earlier?
9          A.    This exact repository?        I mean, this exact one?
10         Q.    No.   I'm just asking when ONgDB was -- before
11   it was created.
12         A.    I mean, I don't think that this repository that
13   we're looking at here on GitHub -- I mean, obviously it
14   couldn't have been created before we had the Graph
15   Foundation account because that repository lives within
16   the Graph Foundation account.           So that exact repository
17   was created sometime after the Graph Foundation GitHub
18   account was set up, and I don't know the exact date.
19         Q.    Okay.    And who created ONgDB?
20         A.    If you want to be specific to the repository,
21   are you asking who created this repository?
22         Q.    Sure, let's start with that.
23         A.    Okay.    So I created the ONgDB repository on
24   GitHub.
25         Q.    And when you say on GitHub, are you referring


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 1                         COURT REPORTER'S CERTIFICATE
 2


 3              I, DENISE MYERS BYRD, CA CSR 8340, RPR, the officer
 4   before whom the foregoing proceeding was conducted, do hereby
 5   certify that the witness whose testimony appears in the
 6   foregoing proceeding was duly sworn by me; that the testimony
 7   of said witness was taken down by me in stenotype to the best
 8   of my ability and thereafter transcribed under my supervision;
 9   and that the foregoing pages, inclusive, constitute a true and
10   accurate transcription of the testimony of the witness.
11              Before completion of the deposition, review of the
12   transcript [X] was [ ] was not requested.         If requested, any
13   changes made by the deponent (and provided to the reporter)
14   during the period allowed are appended hereto.
15              I further certify that I am neither counsel for,
16   related to, nor employed by any of the parties to this action,
17   and further, that I am not a relative or employee of any
18   attorney or counsel employed by the parties thereof, nor
19   financially or otherwise interested in the outcome of said
20   action.   Signed this 9th day of October 2020.
21


22


23


                                        Denise Myers Byrd
24                                      CSR 8340, RPR, CLR 102409-02
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